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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                           Civil No. 0:24-cv-02944-KMM-JFD

 United States of America,

                      Plaintiff,

        v.
                                                              ORDER PERMITTING
 1.     Evergreen Recovery Inc.;                           DISCLOSURE OF PATIENT-
 2.     Evergreen Mental Health Services Inc.;              IDENTIFYING RECORDS
 3.     Ethos Recovery Clinic Inc.
 4.     Second Chances Recovery Housing Inc.;
 5.     Second Chances Sober Living, Inc.;
 6.     David Backus;
 7.     Shawn Grygo; and
 8.     Shantel Magadanz,

                      Defendants.

        This matter is before the Court on the application of the United States, pursuant to

 42 U.S.C. § 2900dd-2(b)(2)(C) and 42 C.F.R. § 2.51-2.54, for an order authorizing the

 parties to disclose substance abuse and treatment client records held by Evergreen

 Recovery Inc., Evergreen Mental Health Services, Inc., Ethos Recovery Clinic Inc.,

 Second Chances Recovery Housing Inc., and Second Chances Sober Living (the

 “Evergreen Entities”).

       The United States asserts that sharing limited patient identifying information with

local government social service agencies, probation officials, and county agencies

(collectively, “local government partners”) is necessary to ensure client safety and security

during a transition of client services pursuant to a wind down of the Evergreen Entities.

The United States’ application does not include a request that the parties be permitted to
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share treatment records or confidential communications between a client and treatment

provider, only a request that the parties be permitted to share client identifying information

such as name and date of birth with local government partners who will assist clients in a

transition of services or work to assure client safety.

       The Court finds good cause for this Order exists, that other ways of obtaining the

evidence are either not available or would not be effective, and that the public interest and

need for disclosure and use of patient records outweigh the potential injury to patients of

the program, provider-patient relationships and the treatment services.

       Accordingly, the Application by the United States for an Order authorizing the

parties to disclose patient records to local government entities as necessary to ensure

ongoing client safety is hereby GRANTED. In granting this Order, the Court further

ORDERS that:

       1.     The parties shall limit disclosure to those parts of the patients’ records which

       are essential to fulfill the objective of this Order;

       2.     The parties shall limit disclosure to those persons whose need for the

       information is the basis for the order, namely, the local government entities

       enumerated above, in compliance with 42 C.F.R. § 2.64(e)(2);

       3.     The parties shall redact or delete patient identifying information from any

       documents made available to the public, in compliance with 42 C.F.R. § 2.66(d)(1);

       4.     Before a party may share any patient identifying information pursuant this

       Order, the person or entity with whom the information will be shared must agree to


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      comply with the provisions of 42 C.F.R. § 2.53(e)(1)(i)-(iii).

Dated: August 9, 2024                           _s/ John F. Docherty______________
                                                The Honorable John F. Docherty
                                                United States Magistrate Judge




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